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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                       Miami Division

                                   Case No.: 1:20-cv-22051-DPG

 SISVEL INTERNATIONAL S.A., 3G
 LICENSING S.A., and SISVEL S.p.A.,

                Plaintiffs,
 v.

 HMD AMERICA, INC. and HMD
 GLOBAL OY,

             Defendants.
 __________________________________/

               DEFENDANTS’ HMD AMERICA, INC. AND HMD GLOBAL OY
              NOTICE OF FILING CONSOLIDATED EXHIBITS IN SUPPORT OF
                DEFENDANT’S OPENING CLAIM CONSTRUCTION BRIEF

            PLEASE TAKE NOTICE, Defendants HMD AMERICA, INC. and HMD GLOBAL OY,

  by and through their undersigned counsel, hereby submit the attached Declaration of

  Shyamkrishna Palaiyanur In Support of Defendants’ Opening Claim Construction Brief and

  exhibits thereto, the attached Declaration of David Cooper PhD In Support of Defendants’

  Opening Claim Construction Brief and attachments thereto, and Appendices referenced in

  Defendants’ Opening Claim Construction Brief.

                                         EXHIBIT INDEX

  ID             Title
       1.        Declaration of Shyamkrishna Palaiyanur In Support of Defendants’ Opening
                 Claim Construction Brief
       2.        Exhibit 11 - U.S. Patent No. 7,979,070
       3.        Exhibit 2 - U.S. Patent No. 8,189,611


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   Exhibits refer to the exhibits to the Declaration of Shyamkrishna Palaiyanur In Support of
  Defendants’ Opening Claim Construction Brief.
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  ID              Title
         4.       Exhibit 3 - U.S. Patent No. 8,600,383
         5.       Exhibit 4 - U.S. Patent No. 7,215,653
         6.       Exhibit 5 - U.S. Patent No. 7,869,396
         7.       Exhibit 6 - U.S. Patent No. 8,971,279
         8.       Exhibit 7 - Excerpts from Dictionary Definition of “Prioritizing”
         9.       Exhibit 8 - Plaintiffs’ Proposed Claim Constructions
        10.       Exhibit 9 - Excerpts of the File History for U.S. Patent 8,189,611 (referenced in
                  David Cooper PhD’s Attachment C below)
        11.       Exhibit 10 - Excerpts from Edward A. Lee et al., Digital Communication (2d
                  ed.1994) (referenced in David Cooper PhD’s Attachment D below)
        12.       Declaration of David Cooper PhD In Support of Defendants’ Opening Claim
                  Construction Brief
        13.       Attachment A2 - Curriculum Vitae of David Cooper PhD

        14.       Attachment B - Materials Considered

        15.       Attachment C - Excerpts of the File History for U.S. Patent 8,189,611

        16.       Attachment D - Excerpts from Edward A. Lee et al., Digital Communication (2d
                  ed.1994)
        13.       Appendix 13 - Representative Asserted Patent Claims With Disputed Claim Terms

        14.       Appendix 2 - Listing of Sisvel District Court Litigations and Patent Office
                  Proceedings




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   Attachments refer to the attachments to Declaration of David Cooper PhD In Support of
  Defendants’ Opening Claim Construction Brief
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      Appendices refer to the appendices to Defendants’ Opening Claim Construction Brief.
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      Dated: March 1, 2021                  Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this 1st day of March, 2021, I electronically filed the
  foregoing with the Clerk of Court by using the CM/ECF system which served a copy on the
  following:

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                                                      By:     /s/ Joseph W. Bain
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